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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT

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IN RE:                                                 )
                                                       )   CASE NO. 12-21924 (ASD)
ROBIN DELANEY,                                         )
                                                       )   CHAPTER 7
         DEBTOR.                                       )
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DONNA PARRIS,                                          )   ADV. PRO. NO. 12-02078
                                                       )   (CONSOLIDATED WITH
         PLAINTIFF,                                    )   ADV. PRO. NO. 12-02081 UNDER
v.                                                     )   ADV. PRO. NO. 12-02078)
                                                       )
ROBIN DELANEY,                                         )
                                                       )   RE: ECF NO. 17
         DEFENDANT.                                    )
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IN RE:                                                 )
                                                       )   CASE NO. 12-22099 (ASD)
CHARLES PAPPAS,                                        )
                                                       )   CHAPTER 7
         DEBTOR.                                       )
-----------------------------------------------------
DONNA PARRIS,                                          )   ADV. PRO. NO. 12-02081
                                                       )   (CONSOLIDATED WITH
         PLAINTIFF,                                    )   ADV. PRO. NO. 12-02078 UNDER
                                                       )   ADV. PRO. NO. 12-02078)
v.                                                     )
                                                       )
CHARLES PAPPAS,                                        )
                                                       )
         DEFENDANT.                                    )
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                                                   JUDGMENT

         A Motion for Summary Judgment, ECF No. 17, having been filed by the Plaintiff,

Donna Parris, in the above captioned consolidated adversary proceedings and having

been considered by the Court, and the Court having issued this same day its Memorandum

of Decision on Plaintiff’s Uncontested Motion for Summary Judgment on Complaints to
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Determine Nondischargeability of Debt Pursuant to Bankruptcy Code Section 523(a)(6),

in accordance with which

       IT IS HEREBY ORDERED that Judgment shall enter in favor of the Plaintiff, Donna

Parris, and against the Debtor-Defendants, Robin Delaney, and Charles Pappas

(hereinafter, the “Defendants”), and

       IT IS FURTHER ORDERED that District Court Judgment debts of the Defendants

to the Plaintiff as determined in Parris v. Charles Pappas, Robin Delaney, Case No.

3:10CV1128 (WWE) (United States District Court for the District of Connecticut)

(hereinafter, the “District Court Case”) in the amount of $262,407.00 in compensatory and

punitive damages, $87,392.50 in attorneys’ fees, and such additional attorneys’ fees

authorized by Magistrate Fitzsimmons in District Court Case by her Order of August 6,

2012, in a monetary amount to be determined in the District Court Case, are

NONDISCHARGEABLE in the Debtor-Defendants’ bankruptcy cases, Case Nos. 12-21924

(Delaney) and 12-22099 (Pappas), pursuant to Bankruptcy Code Section 523(a)(6).1

Dated: January 29, 2014                                          BY THE COURT




       1
         As noted in the Memorandum of Decision, fn. 3 & 7, Count Two of the Complaint against Pappas
(Adv. P. No. 12-2081) seeking a denial of discharge as to him pursuant to §727(a)(2) is not affected by
this Judgment.
